                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

 UNITED STATES OF AMERICA ex rel.                 )
 PAUL DORSA,                                      )
                                                  )
        Plaintiff,                                )         NO. 3:13-cv-01025
                                                  )
 v.                                               )         JUDGE CAMPBELL
                                                  )         MAGISTRATE JUDGE FRENSLEY
 MIRACA LIFE SCIENCES, INC.,                      )
                                                  )
        Defendant.                                )

                              MEMORANDUM AND ORDER

       Pending before the Court is Plaintiff’s Motion to Alter or Amend Judgment. (Doc. No.

313). Through the motion, Plaintiff seeks to amend the Judgment in this case by: (1) doubling

the jury’s back pay award; (2) awarding pre-judgment interest on the undoubled backpay in the

amount of $1,346,109.91; (3) awarding pre-judgment interest on the compensatory damages

award in the amount of $561,742.93; and (4) awarding post-judgment interest on the entire

value of the Judgment and costs at the federal statutory rate.

       For the reasons stated below, Plaintiff’s motion will be GRANTED in part.

                                   I.    BACKGROUND

       Plaintiff initiated this action on September 20, 2013. (Doc. No. 1). As required by the

False Claims Act, the Complaint was filed under seal to allow the Government time to

investigate and determine whether to intervene. On November 15, 2013, Plaintiff amended the

Complaint to add a retaliation claim. (Doc. No. 10). The Amended Complaint remained under

seal until August 20, 2015, when Court partially unsealed the case to allow the Complaint to be

disclosed to Miraca. (Doc. No. 19). After years of investigation, on November 26, 2018, the




Case 3:13-cv-01025        Document 324        Filed 05/07/25     Page 1 of 7 PageID #: 5010
United States intervened for purposes of settlement of the qui tam claims. (Doc. No. 70). The

settlement did not resolve the retaliation claim. Active litigation on the retaliation claim did not

begin until July 11, 2019, when the Court authorized service on Miraca.1 (See Doc. No. 89).

        Miraca asserted that the retaliation claim was subject to arbitration. Litigation of the

arbitration issue lasted almost three years, until May 2022, and involved two interlocutory

appeals by Miraca. In affirming the Court’s order denying Miraca’s motion to compel

arbitration, the Sixth Circuit observed that Miraca’s “tactics” and “inconsistent actions” had

caused “unnecessary delay and expense.” United States ex rel. Dorsa v. Miraca Life Sciences,

Inc., 33 F.4th 352, 358-59 (6th Cir. 2022).

        The case proceeded to trial on December 10, 2024. On December 17, 2024, the jury

returned a verdict in favor of Plaintiff and awarded him $732,298 in back pay and $292,919 in

compensatory damages. (Doc. No. 308). The Court entered judgment reflecting that verdict.

(Doc. No. 312). Plaintiff now seeks to amend the judgment to reflect doubling of backpay and

pre and post-judgment interest.

                                          II.    ANALYSIS

        A.       Doubling Back Pay

        The FCA requires the back pay award of $732,298 be doubled. 31 U.S.C. §

3730(h)(1),(2). Defendant does not dispute that doubling of the back pay award is required.

Accordingly, the judgment will be amended to reflect that Plaintiff is entitled to two times the

amount of back pay awarded, which equals $1,464,596.




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         Although the Complaint had been disclosed to Defendant in August 2015, it had not been served because
service of the Complaint on the Defendant is prohibited “until the court so orders.” 31 U.S.C. § 3730(b)(2).

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Case 3:13-cv-01025           Document 324           Filed 05/07/25        Page 2 of 7 PageID #: 5011
        B.      Post-judgment Interest

        Under 28 U.S.C. § 1961(a), “[i]nterest shall be allowed on any money judgment in a

civil case recovered in district court.” The statute states that the rate of post-judgment interest

is “at a rate equal to the weekly average 1-year constant maturity Treasury yield, as published

by the Board of Governors of the Federal Reserve System, for the calendar week preceding the

date of the judgment.” 28 U.S.C.§ 1961(a). Defendant does not dispute that Plaintiff is entitled

to interest on the judgment, amended judgment, and costs taxed by the Clerk of Court at the

statutory rate. Accordingly, the Judgment will be amended to reflect an award of post-judgment

interest at the statutory rate.

        C.      Pre-judgment Interest on Back Pay

        Plaintiff seeks interest on the undoubled back pay award at the maximum allowable rate

in Tennessee of 10% per year compounded annually from Plaintiff’s date of termination to the

date of Judgment, which Plaintiff calculates as $1,346,109.91 on the back pay award of

$732,298. Plaintiff argues that because the jury awarded Plaintiff the exact amount calculated

by Defendant’s expert, Chris Robinson, the Court should infer that the jury accepted his opinion

that Defendant would have terminated Plaintiff without cause on January 8, 2014, and paid

severance at that time. Although a portion of Mr. Robinson’s calculation was attributed to lost

earnings and benefits between September 25, 2013, and January 8, 2014, Plaintiff states that,

for simplicity, he seeks an award of pre-judgment interest calculated from January 8, 2014.

        Defendant also does not object to an award of pre-judgment interest on the undoubled

backpay, but argues the interest period and rate sought by Plaintiff are too long and too high

and would result in a “massive windfall.”



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Case 3:13-cv-01025          Document 324       Filed 05/07/25      Page 3 of 7 PageID #: 5012
       The False Claims Act states that employees subject to retaliation “shall be entitled to all

relief necessary to make that employee … whole,” which shall include, among other things,

“interest on the back pay.” 31 U.S.C. 3730(h)(1), (2). When determining the appropriate rate of

interest, the Court considers: (1) “[T]he remedial goal to place the plaintiff in the position that

he or she would have occupied prior to the wrongdoing;” (2) “the prevention of unjust

enrichment on behalf of the wrongdoer;” (3) “the lost interest value of money wrongly

withheld;” and (4) “the rate of inflation.” Pittington v. Great Smokey Mountain Lumberjack

Feud, LLC, 880 F.3d 791, 807 (6th Cir. 2018).

       Plaintiff argues a 10% interest rate is reasonable under the circumstances, including that

the bulk of the award is attributable to a lump sum severance payment which would have been

invested. Plaintiff submits that the Dow Jones Industrial Average, the S&P 500 and the

NASDAQ Composite had annual returns of between 9.07% and 15.47% during the relevant

period. Though Plaintiff’s own investment returns were a more modest 6.65%, he states that if

he had received the lump sum severance payment in 2014, he may have made less conservative

investment decisions. Plaintiff argues a 10% interest rate is also justified to prevent Miraca

from being unjustly enriched, noting that Miraca did not immediately hire anyone to replace

him and therefore “freed up” the money that would have been spend on his salary. Investment

opportunities aside, Plaintiff argues that an interest rate of at least 2.77% (compounded

annually) would be required to keep pace with inflation. Finally, Plaintiff argues that a

substantial award of pre-judgment interest is justified by Defendant’s “prejudicial action in

delaying resolution of the case,” particularly the time spent litigating the issue of arbitrability.

       Defendant argues pre-judgment interest should be calculated from the time the

Complaint was unsealed on January 8, 2019, because Defendant was “unaware of the litigation”

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Case 3:13-cv-01025        Document 324         Filed 05/07/25       Page 4 of 7 PageID #: 5013
until after that date and cannot be faulted for delaying the litigation during that time period.

Defendant also argues that the retaliation claim would have proceeded more expeditiously if

Plaintiff had filed it separately from the qui tam action and that because he chose not to do so,

“the initial more than five-year delay in litigating Plaintiff’s retaliation claim is entirely on

him.”

        With regard to the appropriate rate of interest, Defendant submits the Court should

calculate pre-judgment interest in accordance with 28 U.S.C. § 1961, to reflect the time-value

of money. Defendant argues the 10% rate Plaintiff seeks would result in a “massive windfall”

for Plaintiff and go beyond making him whole.

        Pre-judgment interest is typically calculated from the date the claim accrues. The Court

finds no cause to differ from that standard here. The purpose of an award of pre-judgment

interest is to make the Plaintiff whole. This can only be accomplished through an award of

interest from on the date of wrongful termination through judgment. For purposes of this motion

and simplicity of calculations, Plaintiff asserts that date is January 8, 2014. It goes without

saying that the litigation in this matter was unusually long, but that does not mean that the time

period for calculation of interest should be adjusted. While the case was being litigated,

Defendant, rather than Plaintiff, had the benefit of use of the funds ultimately awarded to

Plaintiff. An award of pre-judgment interest covering this period serves only to make Plaintiff

whole. Therefore, no adjustment of the period is warranted and pre-judgment interest on the

back pay award shall be calculated from Plaintiff’s proposed date of January 8, 2014. With

regard to the rate of interest, the Court finds that an interest rate of 6.65%, which is Plaintiff’s

stated return on his own investments during this period, will serve the remedial purpose of the

award of interest, which is to make the Plaintiff whole.

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Case 3:13-cv-01025        Document 324         Filed 05/07/25       Page 5 of 7 PageID #: 5014
       D.      Pre-judgment Interest on Compensatory Damages

       Plaintiff also seeks pre-judgment interest on compensatory damages. Defendant argues

an award of interest on compensatory damages is not warranted because the statute requires

interest only on the back pay award and because Plaintiff was not deprived the use of any money

for non-economic damages included in the award of compensatory damages. See Hopkins v.

Nichols, 2024 U.S. Dist. LEXIS 164386, at *3-4 (M.D. Tenn. Sept. 12, 2024) (declining to

award pre-judgment interest on the award of non-economic damages because plaintiffs were

not deprived the use of that money); Umfress v. City of Memphis, 2020 U.S. Dist. LEXIS

261844, at *3 (W.D. Tenn. Oct. 19, 2020) (“Pre-judgment interest is necessary with an award

of backpay because Plaintiff was wrongfully deprived of the time-value of her wages. The same

is not true for non-economic damages, where the jury is asked to assess the full extent of injury

and damages, and she is not entitled to be repaid for the time value of the § 1983 award.”).

Accordingly, the Court finds an award of pre-judgment interest on the compensatory damages

award is not warranted.

                                  III.   CONCLUSION

       For the reasons stated, the motion to amend the judgment is GRANTED in part and

DENIED in part as follows:

       1.      The back pay award will be doubled pursuant to 31 U.S.C. § 3730(h)(1),(2), for

a total back pay award of $1,464,596 ($732,298 x 2).

       2.      Plaintiff is entitled to post-judgment interest pursuant to 28 U.S.C.§ 1961(a).

       3.      Plaintiff is awarded pre-judgment interest on the undoubled backpay award for

the period from January 8, 2104, through the date of judgment at a rate of 6.65% compounded

annually.

                                               6


Case 3:13-cv-01025        Document 324        Filed 05/07/25      Page 6 of 7 PageID #: 5015
       4.     Plaintiff’s request for an award of pre-judgment interest on compensatory

damages is DENIED.

       On or before May 16, 2025, Plaintiff shall file a Notice with revised calculations of pre-

judgment on the undoubled backpay award consistent with this ruling. The Court will then enter

an amended judgment.

       It is so ORDERED.



                                             ______________________________________
                                             WILLIAM L. CAMPBELL, JR.
                                             CHIEF UNITED STATES DISTRICT JUDGE




                                               7


Case 3:13-cv-01025       Document 324        Filed 05/07/25      Page 7 of 7 PageID #: 5016
